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11:02 am, Jul 17 2020
AT BALTIMORE
CLERK, U.S. DISTRICRT COURT
DISTRICT OF MARYLANDIN THE UNITED STATES DISTRICT COURT
BY ______________Deputy                                   1:20-mj-1671 TMD
                       FOR THE DISTRICT OF MARYLAND
                                                          1:20-mj-1672 TMD
    IN THE MATTER OF THE APPLICATIONS :                   1:20-mj-1673 TMD
    OF THE UNITED STATES OF AMERICA                       1:20-mj-1674 TMD
                                        : NOS._____________________________
    FOR SEARCH WARRANTS REQUIRING     :
    DISCLOSURE OF HISTORICAL CELLULAR :
    INFORMATION                       :

                           AFFIDAVIT IN SUPPORT OF
                     APPLICATIONS FOR SEARCH WARRANTS
       REQUIRING DISCLOSURE OF HISTORICAL CELLULAR SITE INFORMATION

             Ted Anderson, a Task Force Officer with the Federal Bureau of Investigation (“FBI”) being

    duly sworn, states:

                              INTRODUCTION AND AGENT BACKGROUND

             1.       I make this affidavit in support of an application for search warrants for records and

    historical cellular site information associated with certain cellular towers (“cell towers”) that is in

    the possession, custody, and/or control of AT&T, a cellular service provider headquartered at

    11760 US Highway 1 Suite 600, North Palm Beach, Florida 33408; Sprint, a cellular service

    provider headquartered at 6480 Sprint Parkway, Overland Park, Kansas 66251; T-Mobile, a

    cellular service provider headquartered at 4 Sylvan Way, Parsippany, New Jersey 07054; and

    Verizon Wireless, a cellular service headquartered at 180 Washington Valley Road, Bedminster,

    New Jersey 07921 (collectively, the “Service Providers”). This affidavit is made in support of

    applications for search warrants under 18 U.S.C. § 2703(c)(1)(A) to disclose certain records and

    other information pertaining to the cellular telephone towers described in Part I of Attachment A.

    The records and other information to be disclosed are described in Part II of Attachment A.

             2.       Your Affiant, Detective/FBI Task Force Officer Ted Anderson, has been a sworn

    member of the Baltimore City Police Department since April of 1997. Upon completing the Police

    Academy, your Affiant was assigned to the Northeast District Patrol Division. In July of 2001,
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your Affiant was transferred and assigned to the Northeast District Detective Unit. While assigned

to the Northeast District Detective Unit, your Affiant was tasked with investigating crimes

pertaining to burglaries, robberies, aggravated assaults and non-fatal shootings. In November

2003, your Affiant was transferred and assigned to the Citywide Robbery Unit within the Criminal

Investigation Divisions. While assigned to the Citywide Robbery Unit, your Affiant was tasked

with the investigation of Commercial Robberies, including Armed Commercial Robberies. In

October of 2010, your Affiant was deputized by the U.S. Marshals Service and assigned to work

with the FBI’s Maryland Joint Violent Crime/Fugitive Task Force. Your Affiant’s duties with the

Task Force are to investigate Bank Robberies, Commercial Robberies and Armored Car Robberies

to include Hobbs Act Cases. During my tenure with the Baltimore City Police Department and

the FBI Violent Crimes Task Force, your Affiant has attended various training classes to include

yearly in-service training, criminal investigation training, interview and interrogation school, the

recovered of DNA, cellphone data extraction and the FBI’s Street Survival training. During this

period, your Affiant has arrested numerous individuals for various crimes. Your Affiant has also

prepared and executed numerous search and seizure warrants while with the Baltimore City Police

Department and the FBI Violent Crimes Task Force. Your Affiant has testified in State and Federal

Courts to include both State and Federal Grand Jury proceedings.

       3.       Because this affidavit is being submitted for the limited purpose of establishing

probable cause for search warrants, I have not included every detail of every aspect of the

investigation. Rather, I have set forth only those facts that I believe are necessary to establish

probable cause. I have not, however, excluded any information known to me that would defeat a

determination of probable cause. The facts in this Affidavit come from my personal observations,

my training and experience, and information obtained from other agents, police officers, witnesses,



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cooperating sources, telephone records, and reports. This Affidavit is intended to show merely that

there is sufficient probable cause for the requested warrants and does not set forth all of my

knowledge about this matter.

       4.       Based on the facts set forth in this Affidavit, there is probable cause to believe that

violations of 18 U.S.C. § 1951 (Interference with Commerce by Robbery), were committed by the

unknown subject described herein. There is also probable cause to believe that a search of the cell

tower data as described below and in Attachment A will result in identification of the subject and

the recovery of items constituting evidence of these criminal violations.

                                       PROBABLE CAUSE

       5.       The FBI and Baltimore Police Department (“BPD”) are conducting an investigation

of several armed commercial robberies that have occurred since June 13, 2020. I believe that these

were committed by the same subject. A review of available video surveillance indicate that the

robberies appear to be related based upon the description of the subject, articles of clothing worn,

and the manner in which the robberies were committed.

       6.       On June 13, 2020, at approximately 3:00 a.m., the BPD received a 911 call for an

armed robbery at the America Best Inn located at 6510 Frankford Avenue, Baltimore, Maryland

21206. Officers responded to the location and their investigation revealed that a suspect entered

the business and asked for a cup. When the attendant went to give the suspect a cup, the suspect

forced his way behind the counter. The suspect then produced a black handgun and demanded

U.S. currency. The suspect stated, “I will pop you,” meaning the suspect would shoot the attendant

if the attendant did not comply. The attendant gave the suspect approximately $540.00 dollars in

U.S. currency. Prior to exiting the location, the suspect ordered the attendant to get on the ground.




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The suspect then fled the location in an unknown direction. The male was described as a black

male, 6‘4” in height, thin build and wore a black mask, gray hoodie sweatshirt, and blue pants.

       7.       On June 18, 2020, at approximately 1:05 p.m., the BPD received a 911 call for an

armed robbery at the Hip Hop Chicken & Carry-Out located at 901 N. Caroline Street, Baltimore,

Maryland 21205. BPD Officers responded to the location and their investigation revealed that a

suspect entered the Hip Hop Chicken and stated he was there to pick up a food order. An employee

turned to get the pick-up order from behind the counter. Once the employee returned to the cash

register with the pick-up food order, the suspect produced a black handgun and demanded U.S.

currency. The employee gave the suspect approximately $100.00 dollars in U.S. currency. The

suspect then fled the location on foot. The suspect was described as a black male, approximately

6’1” in height, young in age, and wore a black mask, black hoodie sweatshirt with the hood pulled

up, black shorts, and white and black tennis shoes.

       8.       On June 18, 2020, at approximately 10:04 p.m., the BPD received a 911 call for an

armed robbery at the 7-Eleven located at 300 W. Baltimore Street, Baltimore, Maryland 21201.

Officers responded to the location and their investigation revealed that a suspect entered the 7-

Eleven Store and pulled an unknown caliber black handgun from his waistband. The suspect then

demanded for U.S. currency. The employee complied and gave the male approximately $500.00

dollars in U.S. currency. Before the suspect exited the location he ordered the employees to get on

the ground. The suspect was described as a black male, 6’ in height, and wore a black mask, black

“Under Amour” hoodie, gray pants, and black tennis shoes with white soles.

       9.       On June 18, 2020, at approximately 10:43 p.m. the BPD received a 911 call for an

armed robbery at Billy’s Pizza and Wings located at 5005 Erdman Avenue, Baltimore, Maryland

21205. Officers responded and their investigation revealed that a suspect entered the carryout and



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appeared to be looking at the menu. An employee was at the counter and on the phone taking a

food order. The suspect approached the employee and stated, “Hang up the phone before I pop

you.” The employee thought the suspect was joking until the suspect displayed a black handgun

and ordered the employee to put down the phone. The suspect then went behind the counter and

demanded U.S. currency. The employee complied and gave the suspect approximately $296.00

dollars in U.S. currency. Prior to the suspect leaving the location, the suspect ordered all of the

employees to go to a back room. The suspect then exited the location and was seen entering a

small sized SUV-style vehicle. The suspect was described as a black male wearing a black mask,

black “Under Amour” hoodie sweatshirt, gray pants, and dark colored tennis shoes with white

soles.

         10.   On June 18, 2020, at approximately 11:09 p.m., the BPD received a 911 call for an

armed robbery at the Royal Farms Store located at 6311 Eastern Avenue, Baltimore, Maryland

21224. Officers responded to the location and their investigation revealed that a suspect entered

the Royal Farms Store and asked to buy a pack of cigarettes. An employee turned to get the

cigarettes from the display and turned around to see the suspect displaying a black handgun. The

suspect then demanded U.S. currency.           The employee complied and gave the suspect

approximately $200.00 dollars in U.S. currency. The suspect left the location on foot. The suspect

was described as a black male, 6’3” in height, thin build, and wore a black mask, dark gray hoodie

sweatshirt, light gray pants, and gray tennis shoes.

         11.   Based on the foregoing facts, your affiant believes the information requested in the

search warrants can assist in identifying the subject and as evidence in court for the crime of

Interference with Commerce by Robbery and associated firearms offenses.




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                         FACTS ABOUT CELL TOWERS IN GENERAL

       12.     Many cellular service providers maintain antenna towers (“cell towers”) that serve

specific geographic areas. Each cell tower receives signals from wireless devices, such as cellular

phones, in its general vicinity. These cell towers allow the wireless devices to transmit or receive

communications, such as phone calls, text messages, and other data. The tower closest to a

wireless device does not necessarily serve every call made to or from that device.

       13.     In addition to a unique telephone number, each cell phone is identified by one or

more unique identifiers. Depending on the cellular network and the device, the unique identifiers

for a cell phone could include an Electronic Serial Number (“ESN”), a Mobile Electronic Identity

Number (“MEIN”), a Mobile Identification Number (“MIN”), a Subscriber Identity Module

(“SIM”), a Mobile Subscriber Integrated Services Digital Network Number (“MSISDN”), an

International Mobile Subscriber Identifier (“IMSI”), or an International Mobile Equipment

Identity (“IMEI”).

       14.     Cellular service providers routinely maintain historical cell-tower log information,

including records identifying the wireless telephone calls and communications that used a

particular tower. For each communication, these records may include the telephone call number

and unique identifiers for the wireless device in the vicinity of the tower that made or received the

communication (“the locally served wireless device”); the source and destination telephone

numbers associated with the communication (including the number of the telephone that called or

was called by the locally served wireless device); the date, time, and duration of the

communication; the “sectors” (i.e., the faces of the towers) that received a radio signal from the

locally served device; and the type of communication transmitted through the tower (such as phone

call or text message).



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                                  PURPOSE OF THE SEARCH

       15.       Based on the factual circumstances and chronology of the armed commercial

robberies discussed above, it is likely that the subject’s mobile device(s) would have used the

towers that served the areas near the locations of the armed commercial robberies. Identifying a

mobile device that used those towers on the specified dates and times would lead to the

identification of the subject. Each of the subject’s mobile devices would have a unique telephone

number and Electronic Serial Number (“ESN”), which is registered to a respective carrier. The

carrier would have identifying subscriber information, which can be used to identify the individual

utilizing a specific mobile device. Upon identification of a mobile device, your affiant will obtain

a subpoena to obtain the subscriber information from the respective carrier to further the

investigation.

                           REQUEST FOR A SEARCH WARRANTS

       16.       Given the facts set forth above, your affiant has probable cause to believe the

records described in Attachment A would identify which wireless devices were in the immediate

vicinity of the addresses listed in Attachment A around the time of the armed commercial robberies

discussed above. This information, in turn, will assist law enforcement in determining the wireless

device(s) utilized by the subject(s).

       17.       WHEREFORE, I respectively request that the Court issue warrants authorizing

members of the FBI, or their authorized representatives, including but not limited to other law

enforcement agents assisting in the above described investigation, to analyze the records, as

described in Attachment A, for the purpose of identifying the individual responsible for the armed

commercial robberies described above.




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                                                 Task Force Officer Ted Anderson
                                                ____________________________________
                                                Ted Anderson
                                                Task Force Officer
                                                Federal Bureau of Investigation



       Affidavit submitted by email and attested to me as true and accurate by telephone
consistent with Fed. R. Crim. P. 4.1 and 41(d)(3) on this ______ day of ____________ 2020.



                                                ____________________________________
                                                THOMAS M. DiGIROLAMO
                                                UNITED STATES MAGISTRATE JUDGE




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                                       ATTACHMENT A

I.       The Cell Towers

         This warrant applies to certain records and information associated with cellular telephone

towers (“cell towers”) that provide coverage to the following areas at the listed date and times:


              Location                       Date                            Times

       6510 Frankford Avenue,           June 13, 2020            2:40 a.m. to 3:10 p.m. (EDT)
      Baltimore Maryland 21206
        (Latitude: 39.313590
       Longitude: -76.540780)

        901 N. Caroline Street          June 18, 2020            12:45 p.m. to 1:15 p.m. (EDT)
      Baltimore, Maryland 21205
         (Latitude: 39.300940
       Longitude: -76.597540)

       300 W. Baltimore Street          June 18, 2020            9:45 p.m. to 10:15 p.m. (EDT)
      Baltimore, Maryland 21201
         (Latitude: 39.289390
       Longitude: -76.619430)

        5005 Erdman Avenue              June 18, 2020           10:30 p.m. to 11:00 p.m. (EDT)
      Baltimore, Maryland 21205
         (Latitude: 39.305750
       Longitude: -76.557990)

         6311 Eastern Avenue            June 18, 2020           10:30 p.m. to 11:00 p.m. (EDT)
      Baltimore, Maryland 21224
         (Latitude: 39.287480
       Longitude: -76.540080)



II.      Records and Other Information to Be Disclosed

         For each cell tower described in Part I of this Attachment, the Service Providers named in

the Search Warrant are required to disclose to the United States all records and other information




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(not including the contents of communications) about all communications made using the cell

tower during the corresponding timeframe(s) listed in Part I, including the records that identify:

       A.      the telephone call number and unique identifiers for each wireless device in the

               vicinity of the tower (“the locally served wireless device”) that registered with the

               tower, including Electronic Serial Numbers (“ESN”), Mobile Electronic Identity

               Numbers (“MEIN”), Mobile Identification Numbers (“MIN”), Subscriber Identity

               Modules (“SIM”), Mobile Subscriber Integrated Services Digital Network

               Numbers (“MSISDN”), International Mobile Subscriber Identifiers (“IMSI”), and

               International Mobile Equipment Identities (“IMEI”);

       B.      the source and destination telephone numbers associated with each communication

               (including the number of the locally served wireless device and the number of the

               telephone that called, or was called by, the locally served wireless device);

       C.      the date, time, and duration of each communication;

       D.      the “sectors” (i.e. the faces of the towers) that received a radio signal from each

               locally served wireless device; and

       E.      the type of communication transmitted through the tower (such as phone call or text

               message).

       These records should include records about communications that were initiated before or

terminated after the specified time period, as long as part of the communication occurred during

the relevant time period identified in Part I.




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        CERTIFICATE OF AUTHENTICITY OF DOMESTIC BUSINESS RECORDS
               PURSUANT TO FEDERAL RULE OF EVIDENCE 902(11)


         I, _________________________________, attest, under penalties of perjury under the

laws of the United States of America pursuant to 28 U.S.C. § 1746, that the information

contained in this declaration is true and correct. I am employed by [Provider], and my official

title is _____________________________. I am a custodian of records for [Provider]. I state

that each of the records attached hereto is the original record or a true duplicate of the original

record in the custody of [Provider], and that I am the custodian of the attached records consisting

of __________ (pages/DVDs/terabytes). I further state that:

                a.      all records attached to this certificate were made at or near the time of the

                        occurrence of the matter set forth, by, or from information transmitted by,

                        a person with knowledge of those matters;

                b.      such records were kept in the ordinary course of a regularly conducted

                        business activity of [Provider]; and

                c.      such records were made by [Provider] as a regular practice.

         I further state that this certification is intended to satisfy Rule 902(11) of the Federal

Rules of Evidence.




 Date                                   Signature




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